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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

NIKOS KIDIS,

         Plaintiff,                                  Case No: 16-13070
                                                     HON. SEAN F. COX
vs.

JEAN REID and J. MORAN,
in their individual and official capacities,

         Defendants.

 CHRISTOPHER TRAINOR &                             KIRK, HUTH, LANGE & BADALAMENTI,
 ASSOCIATES                                        PLC

 By: CHRISTOPHER J. TRAINOR (P42449)               By: ROBERT S. HUTH, JR. (P42531)
      SHAWN C. CABOT (P64021)                           RAECHEL M. BADALAMENTI (P64361)
                                                        ELIZABETH P. ROBERTS (P76017)
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 PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE CERTAIN EXHIBITS
                        FROM TRIAL

         NOW COMES Plaintiff, NIKOS KIDIS, by and through his attorneys,

CHRISTOPHER TRAINOR & ASSOCIATES, and for his Motion in Limine to

Preclude Certain Exhibits from Trial, respectfully states the following:

      1. This is an excessive force case arising out of an incident occurring during the

         late evening hours of August 31, 2014, wherein Defendant Moran used

         excessive and/or unreasonable force against Plaintiff.
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   2. That Defendant Moran’s actions violated Plaintiff’s Fourth Amendment

      constitutional rights.

   3. That the only issue to be tried in this matter is whether Defendant Moran

      utilized excessive and/or unreasonable force against Plaintiff when he was

      lying face down on the ground with his arms outstretched in an obvious sign

      of surrender.

   4. In the event that this case proceeds to trial, Plaintiff seeks to have the

      following exhibits be excluded from trial in this matter, due to the fact that the

      evidence is completely irrelevant and inadmissible:

         a.    Any and all documents from Walgreens Pharmacy;

         b.    Any and all documents from JAMS Drug and Alcohol Testing;

         c.    Any and all documents from Medicaid, Michigan Department of
               Community Health;

         d.    Any and all documents produced from House Arrest Services;

         e.    Any and all documents from the Michigan Department of Health and
               Human Services;

         f.    Any and all documents from Medicare/Medicaid- Region 5;

         g.    Any and all documents from the Michigan Secretary of State;

         h.    Any and all documents from Progressive Insurance;

         i.    Any and all documents from Macomb Community College;



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         j.    Any and all medical records from facilities not listed on the Joint
               Exhibit List;

         k.    Any and all documents from Home Depot;

         l.    Any and all documents from Lautrec, Ltd.;

         m.    Any and all documents from Service Specialties;

         n.    Any and all documents from Michigan Works!;

         o.    Any and all documents from M &D Towing;

         p.    Any and all documents from Internal Revenue Service.;

         q.    Any and all documents from Macomb Community College;

         r.    Any and all documents from Clintondale High School and
               Clintondale Continuing Education;

         s.    Any and all documents from C. Haskins Maintenance;

         t.    Any and all documents from MSP Plaster;

         u.    Any and all of the parties discovery responses;

         v.    Any and all of the deposition transcripts;

   5. That these exhibits contain no information relevant to core issue of whether

      or not Defendant Moran used excessive and/or unreasonable force against

      Plaintiff, and would serve no purpose other than to confuse the issue and cast

      Plaintiff in a negative light.

   6. That the introduction of the aforementioned evidence and/or testimony is in

      no way relevant to the core issue of this case; nor will such evidence assist the
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      trier of fact in rendering a verdict on the claims that are presently at issue in

      this case.

   7. Any arguable probative value (of which Plaintiff maintains there is absolutely

      none) is substantially outweighed by the danger of unfair prejudice, which

      would cause confusion of the issues, and greatly increase the likelihood that

      the jury would be distracted and reach a decision on an improper basis.

   8. That Federal Rules of Evidence (“FRE”) 401, 402 and, 403 require that the

      evidence set forth herein be excluded from the trial of this case.

   9. Concurrence was sought before the filing of this Motion but was not granted

      as of the date of this writing.




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      WHEREFORE, for the reasons set forth herein and in the attached Brief,

Plaintiff respectfully requests that this Honorable Court enter an Order consistent

with the relief requested herein.

                                     Respectfully Submitted,
                                     CHRISTOPHER TRAINOR & ASSOCIATES

                                     /s/ Shawn C. Cabot
                                     CHRISTOPHER J. TRAINOR (P42449)
                                     SHAWN C. CABOT (P64021)
                                     Attorneys for Plaintiff
                                     9750 Highland Road
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                                     (248) 886-8650
                                     shawn.cabot@cjtrainor.com
   Dated: September 21, 2018
   SCC/mms

   PROOF OF SERVICE

   I hereby certify that on September 21, 2018, I electronically filed the foregoing paper with the
   Clerk of the Court using the ECF system which will send notification of such filing to the
   following: all attorneys of record and I hereby certify that I have mailed by United States
   Postal Service the paper to the following non-ECF participants: None.

   s/ Shawn C. Cabot (P64021)
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

NIKOS KIDIS,

      Plaintiff,                                     Case No: 16-13070
                                                     HON. SEAN F. COX
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         BRIEF IN SUPPORT OF PLAINTIFF’S MOTION IN LIMINE TO
                EXCLUDE CERTAIN EXHIBITS FROM TRIAL

I.    Brief Summary of the Facts
      Please see previously filed, Plaintiff’s Motion in Limine to Exclude Certain

Evidence Regarding Plaintiff’s Criminal History and Alcohol Use From Trial for a

brief summary of the facts.




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II.   Legal Arguments

A.    Motions in Limine, Generally

      A motion in limine refers to “any motion, whether made before or during trial,

to exclude anticipated prejudicial evidence before the evidence is actually offered.”

Luce v. United States, 469 U.S. 38, 40 n.2 (1984). A district court rules on

evidentiary motions in limine “to narrow the issues remaining for trial and to

minimize disruptions at trial.” United States v. Brawner, 173 F.3d 966, 970 (6th Cir.

1999). The guiding principle is to “ensure evenhanded and expeditious management

of trials.” Ind. Ins. Co. v. GE, 326 F.Supp.2d 844, 846 (N.D. Ohio, 2004).

B.    All of the Requested Evidence Must be Excluded Pursuant to FRE 401,
      402 and 403.
      In general, Federal Rule of Evidence (“FRE”) 401 establishes that evidence is

relevant if “(a) it has any tendency to make a fact more or less probable than it would

be without the evidence; and (b) the fact is of consequence in determining the

action.” According to FRE 402, irrelevant evidence is not admissible. The evidence

cited in the attached Motion is certainly not relevant to the core issue that the jury

will ultimately have to decide which is whether Defendant Moran utilized excessive

and/or unreasonable force against Plaintiff; and therefore, this evidence must be

excluded.

      Admittedly, the trial court has discretion in determining the relevancy and

admissibility of evidence. “The district court is ordinarily in the best position to

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‘appreciate the essential facts’ and must ‘be permitted to exercise some discretion,

fructified by common sense, when dealing with this necessarily difficult subject.’”

United States v. Washington, 318 F.3d 845, 856 (8th Cir. 2003). However, using

even the slightest amount of common sense reveals that none of the evidence set

forth in the attached Motion will help the jury determine whether

excessive/unreasonable force was used against Plaintiff or whether Defendant

Moran exercised excessive and/or unreasonable force when he arrested Plaintiff. As

the Eighth Circuit essentially held in the case cited above, the trial court cannot

simply throw common sense out of the window when making relevancy

determinations. Given this guidance, the evidence at issue must be precluded.

      “Relevancy describes the relationship between a proffered item of evidence

and a proposition which is provable or material in a given case. There is not the

legal test of relevancy and reference must be to logic or general experience to

demonstrate the existence of a relationship and its proximity or remoteness.” United

States v. Craft, 407 F.2d 1065, 1069 (6th Cir. 1969) (citing George F. James,

Relevancy, Probability and the Law, 29 Calif.L.Rev. 689 (1941). Justice Cooley

wrote in Stewart v. People, 23 Mich. 63 (1871) that “The proper test for the

admissibility of evidence ought to be, we think, whether it has a tendency to affect

belief in the mind of a reasonably cautious person, who should weigh it with judicial

fairness.” To that end, the evidence included in this Motion, has nothing to do with


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the core issue in the instant matter, which is whether or not Defendant Moran

exercised excessive force when arresting Plaintiff. In fact, the evidence that Plaintiff

seeks to exclude includes, but is not limited to the following: (1) the automobile

accident that occurred before Plaintiff’s subject arrest; (2) Plaintiff’s probation

history related to drug and alcohol use; (3) Plaintiff’s driving record; (4) Plaintiff’s

education history; and (5) Plaintiff’s employment history. Any such evidence is

clearly not relevant in determining whether or not Defendant Moran exercised

unreasonable and/or excessive force against Plaintiff.

      However, in the event this Honorable Court believes that the evidence set

forth in the attached Motion should be considered relevant, then such evidence must

be excluded under FRE 403, because the evidence is unquestionably unfairly

prejudicial. Relevant evidence can be excluded under FRE 403 “[i]f its probative

value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.” Unfair prejudice in this context of FRE

403 implies that the jury would rely on an improper basis in rendering its decision.

U.S. v. Schrock, 855 F.2d 327, 335 (6th Cir. 1998). Under FRE 403, the court may

exclude evidence if its probative value is substantially outweighed by the risk of

unfair prejudice. While the phrase “unfair prejudice” does not mean the damage to

a party’s case that results from the legitimate probative force of admitted evidence,


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 it does refer to evidence which would tend to suggest a decision on an improper

 basis. United States v. Lawson, 535 F.3d 434, 442 (6th Cir. 2008).

        The core issue in this case is whether or not Defendant Moran used excessive

 and/or unreasonable force against Plaintiff. There is nothing contained within the

 exhibits referenced within the attached Motion that is relevant to the matter and issue

 that would be presented to the jury. The exhibits hold no probative or evidentiary

 value whatsoever, and would serve no purpose other than to confuse the issue and

 paint Plaintiff in a negative light. These exhibits must be excluded in their entirety.

 III.   Conclusion

        In light of the evidence, caselaw, and arguments set forth herein and in the

 attached Motion, Plaintiff respectfully requests that this Honorable Court Grant the

 relief requested herein.

                                  Respectfully Submitted,
                                  CHRISTOPHER TRAINOR & ASSOCIATES

                                  /s/ Shawn C. Cabot
                                  CHRISTOPHER J. TRAINOR (P42449)
                                  SHAWN C. CABOT (P64021)
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 Dated: September 21, 2018
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